      Case: 1:19-cv-04593 Document #: 4 Filed: 07/08/19 Page 1 of 2 PageID #:33




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Globefill Incorporated,                          )
                                                  )
                Plaintiff,                        )
                                                  )
         v.                                       )           Case No. 19 cv 4593
                                                  )
 Stoller Imports, Inc., and Matatena Spirits,     )
 S.A. DE C.V.                                     )
                                                  )
                Defendants.                       )


     PLAINTIFF’S RULE 7.1 AND LOCAL RULE 3.2 DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Plaintiff, Globefill

Incorporated, states that it has no parent company and no publicly held affiliate as defined by Local

Rule 3.2.

Dated: July 8, 2019                                Respectfully submitted,

                                                      GLOBEFILL INCORPORATED

                                                      By: /s/ Leif R. Sigmond, Jr.

                                                      Leif R. Sigmond, Jr. (6204980)
                                                      Kiley C. Keefe (6320902)
                                                      BAKER & HOSTETLER LLP
                                                      One North Wacker Drive, Suite 4500
                                                      Chicago, Illinois 60606
                                                      Telephone: (312) 416-6200
                                                      Facsimile: (312) 416-6201
                                                      lsigmond@bakerlaw.com
                                                      kkeefe@bakerlaw.com

                                                      John H. Weber (DC Bar No. 410691)
                                                      (Pro Hac Vice Application pending)
                                                      BAKER & HOSTETLER LLP
                                                      Washington Square
                                                      1050 Connecticut Avenue, NW
                                                      Suite 1100
                                                      Washington, D.C. 20036
Case: 1:19-cv-04593 Document #: 4 Filed: 07/08/19 Page 2 of 2 PageID #:33




                                       Telephone: (202) 861-1526
                                       Facsimile:(202) 861-1783

                                       Attorneys for Plaintiff
                                       Globefill Incorporated




                                   2
